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CONFIDENTIAL - Weekly Report: Hearing over 48 hours or not present from Oct 13, 2018 to Oct 21, 2018.

                                                       PC Docket
                                          Arrest                              Not Present                    Arresting
Defendant Name   CaseNbr        CourtID                Setting      Present                   DefendantSPN
                                          Date                                Reason                         Agency
                                                       Date
                                                                                                             HOUSTON
JOHN,                                     10/10/2018   10/13/2018
                 222854901010         2                             Yes                            2255494   POLICE
MAURICE Q.                                     23:40         2:00
                                                                                                             DEPARTMENT
KEMP,                                                                                                        HOUSTON
                                          10/11/2012   10/13/2018             Medical-
KIMBERLY         222855301010         6                             No                             1565814   POLICE
                                                1:54         2:00             condition
MONIEKE                                                                                                      DEPARTMENT
MIRELES,                                                                                                     HOUSTON
                                          10/12/2018   10/13/2018             Medical-
MICHAEL          216664201010         3                             No                             2875325   POLICE
                                                8:31         2:00             condition
ANTHONY                                                                                                      DEPARTMENT
                                                                                                             HOUSTON
SAUSEDA,                                  10/12/2018   10/13/2018             Medical-
                 213710701010        11                             No                             2337303   POLICE
YVETTE                                          9:05        10:00             condition
                                                                                                             DEPARTMENT
                                                                              Mental-                        SHERIFFS
MOORE,
                                          10/13/2018   10/14/2018             illness or                     DEPARTMENT
DEANDRE          222884901010        13                             No                             2549359
                                               11:00         2:00             Intellectual-                  HARRIS
TERRELL
                                                                              disability                     COUNTY
                                                                                                             JERSEY
ROBERTSON,                                10/13/2018   10/14/2018             Medical-                       VILLAGE
                 222881101010         6                             No                             2967552
DAVINE                                          5:25         2:00             condition                      POLICE
                                                                                                             DEPARTMENT
                                                                                                             SHERIFFS
VONGPHAKDY,                               10/12/2018   10/14/2018             Medical-                       DEPARTMENT
                 222876601010        11                             No                             1381627
PASITH                                         23:55         2:00             condition                      HARRIS
                                                                                                             COUNTY
                 222698401010                                                                                HOUSTON
                                          10/13/2018   10/14/2018             Unc &
TEMPLE, LC III   222879701010         3                             No                             2199821   POLICE
                                                5:00        10:00             Disruptive
                 222879801010                                                                                DEPARTMENT




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                                                                                              SHERIFFS
VIVEROS,                            10/13/2018   10/14/2018        Medical-                   DEPARTMENT
               222891001010    11                             No                    2967599
YANET                                    16:30        13:00        condition                  HARRIS
                                                                                              COUNTY
                                                                   Mental-
DESMORE,                            10/13/2018   10/14/2018        illness or
               222894101010     9                             No                    1960543   HUMBLE PD
JOSEPH L III                             23:10        18:00        Intellectual-
                                                                   disability
LAFLEUR,
               222895001010         10/13/2018   10/14/2018        Medical-
PHILIP                          2                             No                    382023    HUMBLE PD
               222895101010              18:00        20:00        condition
ANTHONY
                                                                                              HOUSTON
MCQURREN,                           10/13/2018   10/14/2018        Medical-
               222891901010     5                             No                    2967610   POLICE
VERCY                                    16:20        20:00        condition
                                                                                              DEPARTMENT
CASTRO,                                                                                       HOUSTON
                                    10/13/2018   10/14/2018        Medical-
VIVIANA        222892101010     7                             No                    2967612   POLICE
                                         13:49        23:00        condition
LIZETTE                                                                                       DEPARTMENT
                                                                                              METRO P. D.
DUDLEY,                             10/13/2018   10/15/2018        Medical-
               222550401010     5                             No                    2768235   CITY OF
HARVEY                                   16:40         2:00        condition
                                                                                              HOUSTON
                                                                                              HOUSTON
WILCOX,                             10/14/2018   10/15/2018        Disruptive,
               222908801010    12                             No                    1547441   POLICE
KAREN LEE                                16:41        13:00        per hcso
                                                                                              DEPARTMENT
                                                                                              METRO P. D.
DUNHAM,                             10/14/2018   10/15/2018        disruptive per
               222904301010     1                             No                    1590073   CITY OF
TIMOTHY                                  10:58        16:00        SO
                                                                                              HOUSTON
                                                                                              SHERIFFS
AGUILAR,                             10/9/2018   10/15/2018        Medical-                   DEPARTMENT
               217156801010    10                             No                    1394170
JUAN LUIS                                19:30        18:00        condition                  HARRIS
                                                                                              COUNTY
                                                                                              HOUSTON
HERSHNER,                           10/14/2018   10/15/2018        Medical-
               219422901010     5                             No                    2938702   POLICE
NIKKI LYNN                               21:30        18:00        condition
                                                                                              DEPARTMENT
RAMIREZ,                            10/15/2018   10/15/2018        Medical-                   CONSTABLE
               218083001010    14                             No                    2157733
ANDREW                                   10:00        20:00        condition                  PCT 4




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CRAWFORD,                                                                                       HOUSTON
                                      10/14/2018   10/15/2018         uncooperative
QUONTERION       222912201010    12                             No                    2630017   POLICE
                                           18:20        23:00         per hcso
DEPRICE                                                                                         DEPARTMENT
WATERS,
                                      10/14/2018   10/15/2018         uncooperative
FREDERICK        222915501010    11                             No                    2001004   HUMBLE PD
                                           22:20        23:00         per hcso
LLOYED
                                                                                                SHERIFFS
HENDERSON,                            10/15/2018   10/16/2018                                   DEPARTMENT
                 222917201010     2                             No    disruptive      2840502
KENT GERALD                                 3:54         2:00                                   HARRIS
                                                                                                COUNTY
                                                                                                HOUSTON
KUYKENDALL,      222916501010         10/14/2018   10/16/2018         Medical-
                                  5                             No                    748872    POLICE
JIMMY            222916601010              18:45         2:00         condition
                                                                                                DEPARTMENT
                                                                                                HOUSTON
                                      10/14/2018   10/16/2018         Medical-
FIELDS, JOSEPH   222919301010    1                              No                    748011    POLICE
                                           18:40         4:00         condition
                                                                                                DEPARTMENT
                                                                      Mental-
                                                                                                HOUSTON
                                      10/14/2018   10/16/2018         illness or
ROJAS, DAVID     222920301010    9                              No                    2766543   POLICE
                                           23:47         7:00         Intellectual-
                                                                                                DEPARTMENT
                                                                      disability
                                                                                                HOUSTON
CONEJO,                               10/14/2018   10/16/2018
                 222924401010     5                             Yes                   1299786   POLICE
SERGIO R                                    6:59        13:00
                                                                                                DEPARTMENT
                                                                                                HOUSTON
WEATHERWAX,                           10/15/2018   10/16/2018         Medical-
                 221230301010     2                             No                    2953782   POLICE
SHAWN AARON                                19:00        16:00         condition
                                                                                                DEPARTMENT

GABRIEL,                              10/14/2018   10/16/2018
                 204989701010     8                             Yes                   2813754   KATY PD
JOSUE SANTOS                                9:25        20:00

                                                                                                WEST
HOWARD,          221975901010         10/11/2018   10/16/2018         combative per             UNIVERSITY
                                  6                             No                    2951133
DEBORAH N        220910501010               9:50        23:00         hcso                      POLICE
                                                                                                DEPARTMENT




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                                                                                             HOUSTON
RUSSELL,                            10/16/2018   10/17/2018        Medical-
               222748501010     2                             No                   2383609   POLICE
KENRIC LOUIS                             13:30         2:00        condition
                                                                                             DEPARTMENT
WILKES,                                                                                      HOUSTON
                                    10/16/2018   10/17/2018        Medical-
RANDOLPH       222642601010    13                             No                   1191570   POLICE
                                          3:31         2:00        condition
CRAIG                                                                                        DEPARTMENT
                                                                   Mental-
                                                                                             HOUSTON
DOUGLAS,                            10/16/2018   10/17/2018        illness or
               222933101010    10                             No                   2946566   POLICE
DARNELL                                  13:00         7:00        Intellectual-
                                                                                             DEPARTMENT
                                                                   disability
CHENEY,
                                    10/17/2018   10/17/2018        combative per             CONSTABLE
LAMOYNE        222938701010     1                             No                   1484548
                                          0:13        16:00        SO                        PCT 4
TREVOR
                                                                                             HOUSTON
CARDENAS,                           10/17/2018   10/17/2018        Medical-
               215937601010    16                             No                   2435757   POLICE
JOE LOUIS                                 1:24        18:00        condition
                                                                                             DEPARTMENT
                                                                                             HOUSTON
SMITH, JOHN                         10/16/2018   10/17/2018        Medical-
               220779201010    12                             No                   2003609   POLICE
LEE                                      17:50        23:00        condition
                                                                                             DEPARTMENT
SMITH,                                                                                       HOUSTON
                                    10/17/2018   10/17/2018        Medical-
SHAQUAVIER     220589301010    10                             No                   2437671   POLICE
                                         12:30        23:00        condition
DANETTE                                                                                      DEPARTMENT
                                                                                             HOUSTON
COLOMB,                             10/17/2018   10/18/2018
               222942401010    12                             No   combative       2553668   POLICE
QUINTEN DA                                5:01         2:00
                                                                                             DEPARTMENT
                                                                                             HOUSTON
DURAN,                              10/16/2018   10/18/2018        Medical-
               199950001010    10                             No                   1333607   POLICE
YADIRA                                   18:35         2:00        condition
                                                                                             DEPARTMENT
                                                                                             SHERIFFS
TORRES-MEZA,   218586201010         10/16/2018   10/18/2018        Medical-                  DEPARTMENT
                               13                             No                   2896868
JENNYFER       222942101010              15:20         2:00        condition                 HARRIS
                                                                                             COUNTY
RIVERA,                             10/17/2018   10/18/2018        Medical-                  CONSTABLE
               222946701010    13                             No                   1730232
LEANDRO                                  10:00         4:00        condition                 PCT 1




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RENCHIE,                                                                                      HOUSTON
                                    10/17/2018   10/18/2018        Medical-
SHANTE         218519801010    11                             No                    1726626   POLICE
                                         16:15         7:00        condition
DENISE                                                                                        DEPARTMENT
                                                                                              HOUSTON
SIMON,                              10/17/2018   10/18/2018        Medical-
               213327801010     2                             No                    2760679   POLICE
JASMINE K.                                9:20        10:00        condition
                                                                                              DEPARTMENT
                                                                   Mental-
                                                                                              HOUSTON
JORDAN,                             10/18/2018   10/18/2018        illness or
               222951901010    13                             No                    2199533   POLICE
RASHARD                                   1:57        18:00        Intellectual-
                                                                                              DEPARTMENT
                                                                   disability
                                                                                              HOUSTON
BESSEY,                             10/17/2018   10/18/2018        Medical-
               222950801010     3                             No                    2295945   POLICE
CARRIE DAVIS                             15:19        23:00        condition
                                                                                              DEPARTMENT
                                                                                              HOUSTON
QUINTERO,      222953101010         10/17/2018   10/19/2018
                                5                             No   disruptive       2862786   POLICE
OMAR           222953201010              17:06         2:00
                                                                                              DEPARTMENT
                                                                                              HOUSTON
ROBINSON,                           10/18/2018   10/19/2018        disruptive per
               222956601010    14                             No                    2555167   POLICE
RAJAH AHMED                               4:37         4:00        hcso
                                                                                              DEPARTMENT
                                                                                              HOUSTON
TREVINO,                            10/18/2018   10/19/2018        disruptive per
               222955801010     5                             No                    2393258   POLICE
ANDREW                                    3:59         4:00        hcso
                                                                                              DEPARTMENT
MCDADE,                                                                                       METRO P. D.
                                    10/18/2018   10/19/2018
TREMELL        222957201010     6                             No   disruptive       1864450   CITY OF
                                          7:50        10:00
KENNARD                                                                                       HOUSTON
                                                                                              SEABROOK
PRELL, LINDA                        10/19/2018   10/19/2018        Medical-
               222412901010     8                             No                    2551938   POLICE
LEE                                       6:20        13:00        condition
                                                                                              DEPARTMENT
HARRIS,                                                                                       HOUSTON
                                    10/18/2018   10/19/2018        Medical-
STERLING       219135301010     9                             No                    2756543   POLICE
                                         13:20        18:00        condition
OCTAVION                                                                                      DEPARTMENT
                                                                                              SHERIFFS
                                    10/19/2018   10/20/2018        Medical-                   DEPARTMENT
GRAY, ALLANA   222972201010    10                             No                    2652348
                                         10:30         2:00        condition                  HARRIS
                                                                                              COUNTY




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JOURNET,                                                               Per HCSO, D             METRO P. D.
               222962001010         10/18/2018   10/20/2018
JOSEPH                          3                                 No   was           2004063   CITY OF
               222962101010              16:36         2:00
LAMARK                                                                 disruptive.             HOUSTON
VILLARREAL,    222976401010         10/19/2018   10/20/2018                                    CONSTABLE
                                3                                 No   Disruptive    2680924
ROBERT         222761601010              17:32         7:00                                    PCT 6
WEBSTER,                                                                                       LA PORTE
                                    10/20/2018   10/21/2018            Medical-
BRASHAE        222988101010    15                                 No                 2719401   POLICE
                                         16:43        10:00            condition
LYNETTE                                                                                        DEPARTMENT
                                                                                               HOUSTON
COLON, JESUS                        10/20/2018   10/21/2018            Medical-
               222999101010     8                                 No                 2968659   POLICE
ANGELLUIS                                21:37        23:00            condition
                                                                                               DEPARTMENT
RIVERS,                                                                                        HOUSTON
                                    10/20/2018   10/21/2018            Medical-
ASHLEY         222994001010    16                                 No                 2852738   POLICE
                                         21:25        23:00            condition
NICOLE                                                                                         DEPARTMENT
BEJAR-                                                                                         HOUSTON
                                    10/22/2018   10/21/2018            Medical-
HERNANDEZ,     211933401010    16                                 No                 2809397   POLICE
                                         12:11        23:00            condition
MAXIMINO                                                                                       DEPARTMENT
                                                               




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